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EXHIBIT A
Case 1:19-cv-00184-PJG ECF No. 1-2 filed 03/11/19 PagelD.11 Page 2 of 9

 

 

 

 

 

 

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FEB 1 “ 2019 Originat - Court 2nd copy - Plaintiff
Approved, SCAO ist copy - Defendant 3rd copy - Retum
STATE OF MICHIGAN CASE NO.
JUOICIAL DISTRICT .
19th JUDICIAL CIRCUIT SUMMONS [ G 2 / bs Ly om / UP
COUNTY PROBATE
Court address ; P g A urt telephone no.
415 Third Strect, Manistee, MI 49660 HON. DAVID A. THOM 3.3331
Plaintiff's name(s), address(es), and telephone no{s). Defendant's name(s), address(es}, and telephone no{s).
ROBERT PHILLIPS TRICAM INDUSTRIES, INC.
960 MANDON STREET 7677 Equitable Dr
WHITE LAKE, MI 48386 v Eden Prairie, MN 55344

 

Plaintiffs attomey, bar no., address, and telephone no.
PHILIP MATTHEWS  P53649

22422 EDISON STREET

DEARBORN, MI 48124

313-492-0991

 

 

 

 

 

 

Instructions: Chack the items below that apply to you and provide any required Information. Submit this form to the court clerk along with your complaint and,
if necessary, a case Inventory addendum (form MC 21). The summons section will be completed by Ihe court clerk.

Domestic Relations Case

[_] There are no pending or resolved cases within the jurisdiction of the family division of the circuit court involving the family or
family members of the person(s) who are the subject of the complaint.

(_] There is one or more pending or resolved cases within the jurisdiction of the family division of the circuit court involving
the family or family members of the person(s) who are the subject of the complaint. Attached is a completed case inventory
(form MC 21) listing those cases.

CJ itis unknown if there are pending or resolved cases within the jurisdiction of the family division of the circuit court involving
the family or family members of the person(s) who are the subject of the complaint.

Civil Case

‘¥] This is a business case in which all or part of the action includes a business or commercial dispute under MCL 600.8035.

-]MOHHS and a contracted health plan may have a right to recover expenses in this case. | certify that notice and a copy of
the complaint will be provided to MDHHS and (if applicable) the contracted health plan in accordance with MCL 400.106(4).

~“] There is no other pending or resolved civil action arising out of the same transaction or occurrence as alleged in the
complaint.

__J A civil action between these parties or other parties arising out of the transaction or occurrence alleged in the complaint has

been previously filed in CJ this court, (1 Court, where

itwas given case number and assigned to Judge

 

The action Liremains Mis no longer pending.

Summons section completed by court clerk.

NOTICE TO THE DEFENDANT: In the name of the peopie of the State of Michigan you are notified:

1. You are being sued.

2. YOU HAVE 21 DAYS after receiving this summons and a copy of the complaint to file a written answer with the court and
serve a copy an the other party or take other lawful action with the court (28 days if you were served by mail or you were
served outside this state).

3. If you do not answer or take other action within the time atlowed, judgment may be entered against you for the relief
demanded in the complaint.

4. If you require special accommodations to use the court because of a disability or if you require a foreign language interpreter
to help you fully participate in court proceedings, please contact the court immediately to make arrangements.

 

 

 

 

 

 

Issue date } { “a | ae | on Z A?
2th {19 SJ /3 p14 pAb. ab lah 8 1)
“This summons is|invalid unless served on of before ity expiralion date. This-daclmeént must be sealed by ha seal of the cour J i

mco1 (1/19) SUMMONS MCR 1,109(D), MCR 2,102(B}, MCR 2.104, MCR 2.105
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STATE OF MICHIGAN

IN THE CIRCUIT COURT FOR MANISTEE COUNTY

ROBERT PHILLIPS,
Plaintiff,
Vv,

TRICAM INDUSTRIES, INC.,
a Minnesota corporation,

Defendant.

P.W. MATTHEWS, PLLC

By: Philip Matthews (P53649)
Attorney for Plaintiff

22422 Edison Street

Dearborn, MI 48124
313.492.0991 / fax 313.557.0157
pmlaw@wowway.com

 

Case No.2019- | (, /2¥ -NP

Hon. HON. DAVID A. THOMPSON

TRUE COPY

JILL M. NOWAK
Manistee County Clerk

 

COMPLAINT AND JURY DEMAND

There is no other pending or resolved civil action arising out of the transaction or

occurrence alleged in the complaint.

COMPLAINT

NOW COMES Plaintiff Robert Phillips, by and through his counsel, P.W.

Matthews, PLLC, and for his complaint, states as follows:
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Parties

1. Plaintiff Robert Phillips is resident of Oakland County, Michigan.

2, Upon information and belief, Defendant Tricam Industries, Inc. is a Minnesota
corporation, which has purposefully availed itself of the opportunity to do business and

which is authorized to do business in Manistee County, Michigan.

Factual Background

3. Plaintiff was working with his brother-in-law, William Knapp, at Knapp’s
cottage. William Knapp owns residential property at 522 Michigan Avenue, Wellston,

Michigan.

4. William Knapp owns an A-frame ladder (“the Ladder”), which was designed
and manufactured by Defendant and sold under the brand name “Gorilla Ladders.” He

purchased the Ladder in approximately 2008 from a Home Depot store.

5. Defendant offers an express “lifetime” warranty on its products, including the

Ladder.

6. William Knapp used the Ladder approximately three times per year, subjecting it

to normal use. He kept the Ladder in dry storage when he was not using it.

7. The Ladder was designed to be used in multiple configurations. The ladder

claims to be functional in many configurations. Knapp and Plaintiff used the ladders as
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two separate tools. In this configuration, it was possible for two people to climb

separate portions of the Ladder. Such a configuration was normal use of the Ladder.

8. On July 5, 2018, at Knapp’s residence in Wellston, Plaintiff sought to use the
Ladder, so that he could knock down some horizontal boards on a wall of a mud room.
He properly set up the Ladder in the A-frame configuration and placed it securely on
the floor of the mud room, which was flat. All four legs of the ladder were securely on

the floor.

9. Plaintiff was working with William Knapp. Knapp climbed the Ladder and
stood with both feet on the second or third rung. Plaintiff climbed his portion of the

Ladder and stood with both feet on the third rung.

10. Plaintiff and Knapp were both performing the same task: using an ordinary

hammer against a horizontal board on the wall of the mud room, while standing on the

Ladder.

11. ‘Just after Plaintiff and Knapp began their work, the ladder leg (from floor to first
rung) that Plaintiff was standing on collapsed, causing Plaintiff to fall to the floor and

severely break his left elbow.

12. ‘Plaintiff was taken to Manistee Hospital where doctors treated his broken elbow.

Since his injury, he has been unable to perform all the functions of his job as an auto

mechanic.
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Count I: Negligence
13. ‘Plaintiff incorporates by reference paragraphs 1-12.

14. Atall relevant times Defendant owed a duty to Plaintiff and to the public in

general to:

a, properly design its products;
b. properly manufacture its products; and

C. properly test its products.
15. Defendant breached these duties by committing or omitting the following acts:

a. failing to properly design the Ladder;
b, failing to properly manufacture the Ladder; and

Cc. failing to properly test the Ladder.
16. | The Ladder was not reasonably safe at the time it left Defendant's control.

17, At the time the product left the control of Defendant manufacturer, a technically
feasible alternative design and/or production practice was available that would have
prevented the harm without significantly impairing the usefulness or desirability of the

product to users and without creating equal or greater risk of harm to others.

18. Defendants’ breaches of duty proximately caused the following damages to
Plaintiff, including but not limited to: pain and suffering; uninsured medical expenses;

and loss of income.
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PLAINTIFF REQUESTS that this Court enter judgment against Defendant in an
amount that will fairly and adequately compensate Plaintiff for his injuries, together

with the costs of this action, interest, and attorney fees.

Count IJ: Breach of Implied Warranty

19. _—~ Plaintiffs incorporate by reference paragraphs 1 through 18.

20, The Ladder was not reasonably fit for the uses anticipated or reasonably foreseen

by Defendant when it left Defendant manufacturer's control.

21. Asa proximate result of the breach of implied warranty by Defendant, Plaintiff

was injured as previously described.

PLAINTIFFS REQUEST that this court enter judgment against Defendant
manufacturer in an amount that will fairly and adequately compensate Plaintiff for his

injuries, together with the costs of this action, interest, and attorney fees.
Count III: Breach of Express Warranty
22. Plaintiffs incorporate by reference paragraphs 1 through 21.

23. Defendant manufacturer expressly warranted, represented, and stated that the

Ladder would be safe and functional for the buyer's lifetime.
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24. ‘Plaintiff relied upon the representation and/or statement of express warranty as

previously described.

25. Plaintiff was proximately injured through the breach of express warranty in the

manner previously described.

PLAINTIFFS REQUEST that this court enter judgment against Defendant
manufacturer in an amount that will fairly and adequately compensate Plaintiff for his

injuries, together with the costs of this action, interest, and attorney fees.

Respectfully Submitted,

PW. LLL Li WS, PLLC

By: Philip Matthews (P53649)
Attorney for Plaintiff
22422 Edison Street

Dearborn, MI 48124
313.492.0991 / fax 313.557.0157
pmlaw@wowway.com
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STATE OF MICHIGAN

IN THE CIRCUIT COURT FOR MANISTEE COUNTY

ROBERT PHILLIPS,
Plaintiff,

Vv.

TRICAM INDUSTRIES, INC.,
a Minnesota corporation,

Defendant.

P.W. MATTHEWS, PLLC

By: Philip Matthews (P53649)
Attorney for Plaintiff

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pmlaw@wowway.com

Case No. }G- ile7 ag-vP

Hon. HON. DAVID A. THOMPSON

TRUE Copy
JILL M. NOWAK

Manistee County Clerk

 

 

JURY DEMAND

Plaintiff Robert Phillips demands a trial by jury.

Respectfully Submitted,

P.W. MATTHEWS, PLLC

By: Philip Matthews (P53649)
Attorney for Plaintiff

22422 Edison Street

Dearborn, MI 48124
313.492.0991 / fax 313.557.0157

pmlaw@wowway.com
